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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                     (at London)

 UNITED STATES OF AMERICA,                      )
                                                )
        Plaintiff,                              )     Criminal Action No. 6: 12-49-DCR
                                                )
 V.                                             )
                                                )
 CHRISTINA HOLT,                                )         MEMORANDUM ORDER
                                                )
        Defendant.                              )

                                      *** *** *** ***

       On January 2, 2013, Defendant Christina Holt entered a guilty plea to a charge of

conspiring to distribute 500 grams or more of a mixture or substance containing a detectible

amount of methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §

846. As reflected in the defendant’s written Plea Agreement which was tendered to the Court

at the time of the defendant’s guilty plea, the statutory penalty for this offense includes a term

of imprisonment of not less than ten years. [See Record No. 49; Plea Agreement, ¶ 4.]

Defendant Holt was sentenced on April 3, 2013, to a term of imprisonment of 120 months.

[Record Nos. 63, 64] This was the minimum term of incarceration that could have been imposed

based on the count of conviction.

       On April 13, 2015, Defendant Holt filed a motion seeking a reduction of her sentence

pursuant to 18 U.S.C. § 3582(c) based on recent amendments to the United States Sentencing

Guidelines. [Record No. 94] However, the two-level reduction does not apply here because the

defendant was not sentenced according to the United States Sentencing Guidelines, but pursuant

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to the mandatory minimum term required by the relevant statute of conviction. Accordingly, it

is hereby

       ORDERED that Defendant Christina Holt’s Motion Under Title 18 U.S.C. Section

3582(c)(2) and United States Sentencing Guidelines Section 1B1.10(d) for Reduction of

Sentence Based on Retroactive Amendment 782 [Record No. 94] is DENIED.

       This 14th day of April, 2015.




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